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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                     *
                                             *
               v.                            *           CASE NO. ELH-20-361
                                             *
JAMES IAN PICCIRILLI                         *
                                             *
              Defendant                      *
                                             *
                                          *******

                              NOTICE OF APPEARANCE


TO THE CLERK:

      Please ENTER my appearance in this action as co-counsel for the United States of

America.



                                              Respectfully submitted,

                                              Robert K. Hur
                                              United States Attorney


                                                       /s/
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